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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

  STATE OF MISSOURI, ex rel.                     )
  Attorney General Joshua D. Hawley,             )
                                                 )
               Plaintiff,                        )
                                                 )
        vs.                                      )Case No.: 4:15-CV-01621JCH
                                                 )
 AUTOMATED PROFESSIONAL                          )
 MARKETING, LLC, et al.                          )
                                                 )
               Defendants.                       )


              JOINT STIPULATION OF PARTIAL DISMISSAL

        Comes now Plaintiff and Defendants Automated Professional

  Marketing, LLC, and Safety Publications, Inc., through counsel; Adam

  Herdman, pro se; and Arthur Olivera, pro se, pursuant to Fed.R.Civ.P.

  41(a)(1)(A)(ii), and stipulate that the above styled action may be dismissed in

  its entirety, without prejudice, against the following parties: Defendant

  Automated Professional Marketing, LLC; Defendant Arthur Olivera, an

  individual; and Defendant Adam Herdman, an individual.

        Plaintiff and Defendants Automated Professional Marketing, LLC, and

  Safety Publications, Inc., through counsel; Adam Herdman, pro se; and

  Arthur Olivera, pro se, further stipulate that Counts I and II in the above

  styled action may be dismissed, without prejudice, against the Defendant

  Safety Publications, Inc.




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                          CERTIFICATE OF SERVICE

         I hereby certify that on the 3rd day of April, 2017, I electronically filed
  the foregoing with the Clerk of the Court using the CM/ECF system which
  will send notification of such filing to all counsel of record, and was mailed
  via U.S. mail, postage prepaid, to the following:

        Adam Herdman
        507 Regan Dr.
        East Dundee, IL 60118
        Pro Se Defendant

        Arthur Olivera
        336 Lake Gillian Way
        Algonquin, IL 60102
        Pro Se Defendant

                                                 /s/ Mary Delworth Morris




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